             Case 2:17-cr-00047-CAS Document 302 Filed 07/07/22 Page 1 of 6 Page ID #:2463

                                                      United States District Court
                                                      Central District of California


 UNITED STATES OF AMERICA vs.                                             Docket No.             2:17cr00047-CAS - 1

 Defendant     GASTON BROWN                                               Social Security No. 6          3   1   3
       Michael Whatley; Jody Lamar Butler; Gaston
       Kevin Brown; Gastor Kev Brown; Gastor Brown;                       (Last 4 digits)
 akas: and Gaston K. Brown




                                                                                                                 MONTH    DAY   YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.       07   07    2022

  COUNSEL                                                           Humberto Diaz, Retained
                                                                          (Name of Counsel)

    PLEA             GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO             NOT
                                                                                                             CONTENDERE         GUILTY
           There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of: Counts 1, 2, 3, 4,
  FINDING
          and 5 of the First Superseding Indictment.
          Conspiracy to Possess with Intent to Distribute and to Distribute Cocaine in violation of 21 U.S.C. § 846, 841(b)(1)(A)(ii), as
          charged in Count 1 of the First Superseding Indictment; Possession with Intent to Distribute and to Distribute Cocaine in
          violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A)(ii), as charged in Count 2 of the First Superseding Indictment; Unlawful
          Transfer, Possession, and Use of a Means of Identification in violation 18 U.S.C. §§ 1028(a)(7), (b)(3)(A), as charged in
          Count 3 of the First Superseding Indictment; Use of a Counterfeit Access Device in violation of 18 U.S.C. §§ 1029(a)(1),
          (c)(1)(A)(I), as charged in Count 4 of the First Superseding Indictment; and Aggravated Identity Theft in violation of 18
          U.S.C. § 1029A(a)(1), as charged in Count 5 of the First Superseding Indictment.
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to Counts
  ORDER   1, 2, 3, 4, and 5 of the First Superseding Indictment to the custody of the Bureau of Prisons to be imprisoned for a term of:
          ONE HUNDRED SIXTY-FIVE (165) MONTHS. This term consists of the following: one hundred forty-one (141) months on
          each of Counts 1, 2, and 3 of the First Superseding Indictment, and one hundred twenty (120) months on Count 4 of the First
          Superseding Indictment, all to be served concurrently with each other; and twenty-four (24) months on Count 5 on the First
          Superseding Indictment, to be served consecutively to Counts 1, 2, 3, and 4 of the First Superseding Indictment.

It is ordered that the defendant shall pay to the United States a special assessment of $500.00, which is
due immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of
not less than $25.00 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial
Responsibility Program.
It is ordered that the defendant shall pay to the United States a total fine of $10,000.00, consisting of
the following: a fine of $2,000.00 on each of Counts 1, 2, 3, 4, and 5. The total fine shall bear interest
as provided by law.
The fine shall be paid in full no later than 120 after sentencing.
Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the fine is waived as it is found that the defendant
does not have the ability to pay interest. Payments may be subject to penalties for default and
delinquency pursuant to 18 U.S.C. § 3612(g).
The defendant shall comply with Second Amended General Order No. 20-04.


CR-104 (wpd 12/20)                              JUDGMENT & PROBATION/COMMITMENT ORDER                                             Page 1 of 4
             Case 2:17-cr-00047-CAS Document 302 Filed 07/07/22 Page 2 of 6 Page ID #:2464

 USA vs.     GASTON BROWN                                 Docket No.:   2:17cr00047-CAS - 1

Pursuant to 21 U.S.C. § 862(a)(1)(C), based on the defendant’s third or subsequent conviction for a
drug distribution offense, the defendant shall be permanently ineligible for all federal benefits.
Upon release from imprisonment, the defendant shall be placed on supervised release for a term of
five (5) years. This term consists of five (5) years on each of Counts 1 and 2, three (3) years on each of
Counts 3 and 4, and one (1) year on Count 5 of the First Superseding Indictment, all such terms to run
concurrently under the following terms and conditions:
1.     The defendant shall comply with the rules and regulations of the United States Probation &
       Pretrial Services Office and Second Amended General Order 20-04, including the conditions of
       probation and supervised release set forth in Section III of Second Amended General Order
       20-04;
2.     The defendant shall not commit any violation of local, state, or federal law or ordinance;
3.     The defendant shall refrain from any unlawful use of a controlled substance. The defendant
       shall submit to one (1) drug test within 15 days of release from custody and at least two (2)
       periodic drug tests thereafter, not to exceed eight (8) tests per month, as directed by the
       Probation Officer;
4.     The defendant shall participate in an outpatient substance abuse treatment and counseling
       program that includes urinalysis, breath and/or sweat patch testing, as directed by the Probation
       Officer. The defendant shall abstain from using alcohol and illicit drugs, and from abusing
       prescription medications during the period of supervision;
5.     As directed by the Probation Officer, the defendant shall pay all or part of the costs of the
       Court-ordered treatment to the aftercare contractors during the period of community
       supervision. The defendant shall provide payment and proof of payment as directed by the
       Probation Officer. If the defendant has no ability to pay, no payment shall be required;
6.     During the period of community supervision, the defendant shall pay the special assessment and
       fine in accordance with this judgment's orders pertaining to such payment;
7.     The defendant shall comply with the immigration rules and regulations of the United States, and
       if deported from this country, either voluntarily or involuntarily, not reenter the United States
       illegally. The defendant is not required to report to the Probation Office while residing outside
       of the United States; however, within 72 hours of release from any custody or any reentry to the
       United States during the period of Court-ordered supervision, the defendant shall report for
       instructions to the United States Probation Office located at: the Los Angeles Federal Building,
       300 North Los Angeles Street, Suite 1300, Los Angeles, California 90012;
8.     The defendant shall not obtain or possess any driver's license, Social Security number, birth
       certificate, passport or any other form of identification in any name, other than the defendant's
       true legal name, nor shall the defendant use, any name other than his true legal name without
       the prior written approval of the Probation Officer;
9.     The defendant shall cooperate in the collection of a DNA sample from the defendant;
10. The defendant shall apply all monies received from income tax refunds to the outstanding
       Court-ordered financial obligation. In addition, the defendant shall apply all monies received
       from lottery winnings, inheritance, judgments and any anticipated or unexpected financial gains
       to the outstanding Court-ordered financial obligation; and

CR-104 (wpd 12/20)                 JUDGMENT & PROBATION/COMMITMENT ORDER                           Page 2 of 4
Case 2:17-cr-00047-CAS Document 302 Filed 07/07/22 Page 3 of 6 Page ID #:2465
              Case 2:17-cr-00047-CAS Document 302 Filed 07/07/22 Page 4 of 6 Page ID #:2466

 USA vs.     GASTON BROWN                                                            Docket No.:      2:17cr00047-CAS - 1


 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                  While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local          9.    The defendant must not knowingly associate with any persons engaged
       crime;                                                                        in criminal activity and must not knowingly associate with any person
 2.    The defendant must report to the probation office in the federal              convicted of a felony unless granted permission to do so by the probation
       judicial district of residence within 72 hours of imposition of a             officer. This condition will not apply to intimate family members, unless
       sentence of probation or release from imprisonment, unless                    the court has completed an individualized review and has determined
       otherwise directed by the probation officer;                                  that the restriction is necessary for protection of the community or
 3.    The defendant must report to the probation office as instructed by            rehabilitation;
       the court or probation officer;                                         10.   The defendant must refrain from excessive use of alcohol and must not
 4.    The defendant must not knowingly leave the judicial district                  purchase, possess, use, distribute, or administer any narcotic or other
       without first receiving the permission of the court or probation              controlled substance, or any paraphernalia related to such substances,
       officer;                                                                      except as prescribed by a physician;
 5.    The defendant must answer truthfully the inquiries of the probation     11.   The defendant must notify the probation officer within 72 hours of being
       officer, unless legitimately asserting his or her Fifth Amendment             arrested or questioned by a law enforcement officer;
       right against self-incrimination as to new criminal conduct;            12.   For felony cases, the defendant must not possess a firearm, ammunition,
 6.    The defendant must reside at a location approved by the probation             destructive device, or any other dangerous weapon;
       officer and must notify the probation officer at least 10 days before   13.   The defendant must not act or enter into any agreement with a law
       any anticipated change or within 72 hours of an unanticipated                 enforcement agency to act as an informant or source without the
       change in residence or persons living in defendant’s residence;               permission of the court;
 7.    The defendant must permit the probation officer to contact him or       14.   The defendant must follow the instructions of the probation officer to
       her at any time at home or elsewhere and must permit confiscation             implement the orders of the court, afford adequate deterrence from
       of any contraband prohibited by law or the terms of supervision and           criminal conduct, protect the public from further crimes of the
       observed in plain view by the probation officer;                              defendant; and provide the defendant with needed educational or
 8.    The defendant must work at a lawful occupation unless excused by              vocational training, medical care, or other correctional treatment in the
       the probation officer for schooling, training, or other acceptable            most effective manner.
       reasons and must notify the probation officer at least ten days
       before any change in employment or within 72 hours of an
       unanticipated change;




CR-104 (wpd 12/20)                                    JUDGMENT & PROBATION/COMMITMENT ORDER                                                          Page 4 of 4
             Case 2:17-cr-00047-CAS Document 302 Filed 07/07/22 Page 5 of 6 Page ID #:2467
             The defendant must also comply with the following special conditions (set forth below).

             STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check
 or money order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number.
 Payments must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                     1. Special assessments under 18 U.S.C. § 3013;
                     2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                       States is paid):
                               Non-federal victims (individual and corporate),
                               Providers of compensation to non-federal victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, under 18 U.S.C. § 3663(c); and
                     5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
 statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply
 for any loan or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.




CR-104 (wpd 12/20)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                     Page 5 of 4
             Case 2:17-cr-00047-CAS Document 302 Filed 07/07/22 Page 6 of 6 Page ID #:2468
 USA vs.     GASTON BROWN                                                        Docket No.:      2:17cr00047-CAS - 1



                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal



                                                                  CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                      Date



                     U. S. Probation Officer/Designated Witness                     Date




CR-104 (wpd 12/20)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 6 of 4
